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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  IN RE APPLICATION OF JASON
  LEOPOLD TO UNSEAL CERTAIN                         1:13-mc-00712-BAH
  ELECTRONIC SURVEILLANCE
  APPLICATIONS AND ORDERS




                        JOINT STATUS REPORT OF JUNE 11, 2021

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia (the “Government”), and Petitioners Jason Leopold and the Reporters Committee for

Freedom of the Press (the “Reporters Committee”) (collectively “Petitioners”), respectfully submit

this Joint Status Report as directed by the Court in its Minute Order of May 25, 2021.

       Specifically, the Court’s Minute Order directed the parties to include the following

information in this Joint Status Report:

       “[A] list of the sealed matters for which the government has completed review and
       redactions and filed the necessary motion to unseal the matter, with a proposed
       order that identifies by docket entry the unredacted documents that must remain
       under seal and the redacted documents, to effectuate the D.C. Circuit’s mandate in
       In re Leopold to Unseal Certain Electronic Surveillance Applications and Orders,
       964 F.3d 1121 (D.C. Cir. 2020)[.]”

Id.

Government’s Position: Due to the unprecedented scope and demands of the investigations

and prosecutions stemming from the January 6, 2021 attack on the U.S. Capitol, the

government’s resources and attention have largely been consumed by those matters. However,

the government is mindful of the requirements of the Court’s Order and has taken steps to

institute a process for the review and redaction of the relevant sealed documents. Specifically,

the government has consulted the Clerk’s Office regarding expanded access to the sealed


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documents to provide for more personnel to review and propose redactions for the sealed

documents. Additionally, the government has consulted the Clerk’s Office regarding a more

efficient method for submission to the court of redacted documents to be unsealed. These steps

will enhance the government’s ability to more efficiently review the sealed materials.

Additionally, the government has a plan to have additional staffing available to review the sealed

materials and make the proscribed redactions, as soon as the above-described steps are in place.

If the Court grants the government leave to file its status report by June 18, 2021, the

government hopes to be in a position to provide a more fulsome description.       [The

Government’s request for another status report was made after petitioners had submitted the

below position.] Petitioners state that they do not oppose the Government’s request to file a

status report on June 18, 2021, provided that the status report is joint and that Petitioners are

provided the opportunity to respond to the Government’s position at that time. [Petitioner’s

authorized the Government to file this joint status report with their positions at 4:53 p.m. June

11, 2021.]


Petitioners’ Position:

       Since the Court’s February 9, 2021 Memorandum Opinion and Order, ECF No. 71, counsel

for Petitioners and the Government have met and conferred on several occasions to discuss the

Government’s compliance with the D.C. Circuit’s mandate in In re Leopold to Unseal Certain

Electronic Surveillance Applications and Orders, 964 F.3d 1121 (D.C. Cir. 2020) (“Leopold”).

As detailed in the Government’s April 12, 2021 status report to the Court, ECF No. 72, the

Government informed Petitioners in an April 8, 2021 meet and confer that the Clerk of the Court

had provided counsel for the Government with access to the sealed electronic surveillance matters

at issue so that the Government could begin the process of reviewing, redacting, and filing motions



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to unseal those judicial records in existing Stored Communications Act (“SCA”) and Pen Register

Act (“PRA”) matters subject to the Leopold mandate—starting with the most recently filed matters

and working backward in time. 1 Following the Court’s May 25, 2021 Minute Order, counsel for

Petitioners and the Government again conferred on June 3, 2021.

       It is Petitioners’ understanding that the Government, to date, has not filed a single motion

to unseal judicial records in any sealed SCA or PRA matter in accordance with that process. See

Minute Order, May 25, 2021 (noting that “in the almost four months since the Court’s February 9,

2021 Memorandum Opinion and Order . . . no unsealing motions that would permit the unsealing

of sealed matters have been submitted[.]”). Indeed, Petitioners now understand that since April,

when counsel for the Government was provided access to existing sealed SCA and PRA matters,

the Government has taken no steps, whatsoever, toward effectuating the D.C. Circuit’s mandate in

Leopold and this Court’s February 9, 2021 Memorandum Opinion and Order.

       Petitioners and the public have a very real need for access to sealed SCA and PRA materials

subject to the Leopold mandate. For example, recent reporting has disclosed that the United States

Department of Justice (“DOJ”) in late 2020 used legal process to obtain or attempt to obtain

telephone toll records and non-content email communications records of journalists at The

Washington Post, CNN, and The New York Times. 2             And, as the Times has reported, a



1
  As to public access to such materials on a moving forward basis, counsel for the Government
also reported in April 2021 that the Government would begin filing SCA and PRA pleadings—
with personally identifiable information, as defined in the Court’s February 9, 2021
Memorandum Opinion and Order, redacted—at the same time that the original sealed pleadings
are filed. To Petitioners’ knowledge, the Government has not implemented that process; SCA
and PRA applications continue to be filed under seal with no corresponding redacted, public
version. The Government’s failure to implement this change has increased the number of sealed
PRA and SCA records that the Government needs to review, redact, and move to unseal to
effectuate the Leopold mandate.
2
  Devlin Barrett, Trump Justice Department secretly obtained Post reporters’ phone records,
Wash. Post (May 7, 2021), https://perma.cc/X6UQ-L26X (reporting that “prosecutors got a court


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nondisclosure order was imposed on Times executives in connection with the order the

Government obtained pursuant to 18 U.S.C. § 2703(d) of the SCA (“Section 2703(d)”) for New

York Times reporters’ email records. 3

       The Section 2703(d) order for New York Times reporters’ email records has been made

public by the Times. 4 However, other judicial records related to the Section 2703(d) orders

obtained by the Government for the non-content email communications records of both the

Washington Post and New York Times reporters are currently under seal in this District. Obtaining

prompt access to those sealed SCA materials—which are subject to the Leopold mandate—is of

the highest importance to members of the news media, as counsel for the Reporters Committee

informed counsel for the Government in their June 3, 2021 meet and confer.




order to obtain ‘non content communication records’ for the reporters’ work email accounts, but
did not obtain such records”); Jeremy Herb and Jessica Schneider, Trump administration secretly
obtained CNN reporter’s phone and email records, CNN (May 20, 2021),
https://perma.cc/SJ6U-F9QV (reporting that prosecutors obtained phone and email records for
CNN correspondent Barbara Starr covering a two-month period); Charlie Savage and Katie
Benner, Trump Administration Secretly Seized Phone Records of Times Reporters, N.Y. Times
(June 2, 2021), https://perma.cc/GG2R-GYDX (reporting that the government seized phone
records for four New York Times reporters and “also secured a court order to seize logs—but not
contents—of their emails,” but that the government said “no [email] records were obtained”).
3
  See Charlie Savage and Katie Benner, U.S. Waged Secret Legal Battle to Obtain Emails of 4
Times Reporters, N.Y. Times (June 4, 2021), https://perma.cc/2DQQ-9AJ6 (reporting that
prosecutors “in the office of the United States attorney in Washington had obtained a sealed
court order from a magistrate judge on Jan. 5 requiring Google to secretly turn over” the
reporters’ non-content email records and “in early March . . . asked a judge to permit telling
[New York Times Deputy General Counsel David McCraw]. But the disclosure to him came with
a nondisclosure order preventing him from talking about it to other people. . . . Eventually,
[assistant United States Attorney Tejpal] Chawla agreed to ask the judge to modify the gag order
so Mr. McCraw could discuss the matter with The Times’s general counsel and the company’s
outside lawyers, and then with two senior Times executives . . . ”).
4
 See Order, In re Appl. of USA for 2703(d) Order for Six Email Accounts Serviced by Google
LLC for Investigation of Violation of [Redacted], SC No. 20-sc-3361 (Jan. 5, 2021),
https://perma.cc/Z5KJ-PNH3.


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       Indeed, on June 8, 2021, The New York Times filed a motion to unseal the sealed judicial

records related to the Section 2703(d) order for its reporters’ non-content email communications

records in this District. This Court has previously indicated that press and public access to specific

sealed SCA and PRA materials in this District—such as the Government’s applications for Section

2703(d) orders to obtain New York Times and Washington Post reporters’ non-content email

communications records—will be afforded pursuant to the process purportedly being implemented

by the Government for complying with the Leopold mandate. See, e.g., Mem. Op. and Order, In

the Matter of Appl. of Jason Leopold and BuzzFeed, Inc. for Access to Certain Sealed Court

Records, No. 1:20-mc-95-BAH, *13 (Dec. 10, 2020) (consolidating application to unseal certain

specific electronic surveillance applications and orders with the above-captioned action, noting

that consolidation “may mean petitioners here will not have access to the requested records as

quickly as they would like” because such materials “to the extent they exist, will be unsealed not

on demand but rather in the course of the wholesale unsealing that, as explained, implementation

of the D.C. Circuit’s mandate in Leopold requires.”). However, the Government—contrary to

Petitioners’ expectations and this Court’s orders—has not even begun that wholesale unsealing

process. And its failure to move to unseal even a single sealed PRA or SCA matter in the eleven

months since the D.C. Circuit issued its decision in Leopold, or in the four months since this

Court’s February 9, 2021 Memorandum Opinion and Order, has left Petitioners and other members

of the press and public, like the Times, without any ability to exercise their common law right to

inspect any specific SCA and PRA application absent further order(s) of the Court.

       For the foregoing reasons, Petitioners respectfully request that the Court enter an order in

the above-captioned action:




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(1) requiring, within sixty (60) days of the date of the Court’s order, the Government to

   review, redact, and move to unseal all SCA and PRA materials subject to the Leopold

   mandate—in accordance with that mandate and this Court’s February 9, 2021

   Memorandum Opinion and Order—that were filed in this District from November 1,

   2020 to the date of the Court’s order, and further requiring that the Government propose

   a schedule in its next status report to the Court for the unsealing of all remaining SCA

   and PRA materials subject to the Leopold mandate;

(2) requiring the Government to file a status report with the Court every thirty (30) days—

   rather than every sixty (60) days, as currently required—that includes a list of all of the

   sealed matters for which the Government has completed review and redactions and

   filed a motion to unseal since its last status report, with a proposed order that identifies

   by docket entry the unredacted documents the Government asserts must remain under

   seal and the redacted versions of those documents;

(3) requiring, as of thirty (30) days of the date of the Court’s order, that all newly filed,

   sealed PRA and SCA applications subject to the Leopold mandate be filed with a




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(4) redacted, public version, in accordance with the Government’s representations in its

   April 12, 2021 status report to the Court, see ECF No. 72.



                                            Respectfully submitted,


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